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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )
                                           )                    8:10CR201
       vs.                                 )
                                           )
STEVEN TAYLOR,                             )                      ORDER
                                           )
                     Defendant.            )




       This matter is before the court on defendant's MOTION FOR EXTENSION OF TIME TO
FILE PRETRIAL MOTIONS [20]. Upon review of the file, the court finds that an extension of
approximately 21 days should be granted. Pretrial Motions shall be filed by August 2,
2010.

       IT IS ORDERED:

       1.    Defendant's MOTION FOR EXTENSION OF TIME TO FILE PRETRIAL MOTIONS [20]
is granted. Pretrial motions shall be filed on or before August 2, 2010.

       2.     Defendant is ordered to file a waiver of speedy trial as soon as practicable.

       3.      The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising
as a result of the granting of the motion, i.e., the time between July 21 and August 2,
2010 shall be deemed excludable time in any computation of time under the requirement
of the Speedy Trial Act for the reason defendant's counsel required additional time to
adequately prepare the case, taking into consideration due diligence of counsel, and the
novelty and complexity of this case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).

       DATED this 12th day of July, 2010.

                                          BY THE COURT:


                                          s/ F.A. Gossett
                                          United States Magistrate Judge
